            Case 2:21-cv-00858-MJP Document 22 Filed 11/02/21 Page 1 of 3




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10                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
11
     BOARD OF TRUSTEES OF THE
12   EMPLOYEE PAINTERS' TRUST; BOARD         NO. 2:21-cv-00858-MJP
     OF TRUSTEES OF THE WESTERN
13   WASHINGTON PAINTERS DEFINED             STIPULATION TO EXTEND TIME IN
     CONTRIBUTION PENSION TRUST; BOARD       WHICH TO ANSWER AND ORDER
14   OF TRUSTEES OF THE DISTRICT
     COUNCIL NO. 5 APPRENTICESHIP AND
15   TRAINING TRUST FUND; BOARD OF
     TRUSTEES OF THE INTERNATIONAL           NOTED ON MOTION CALENDAR:
16   PAINTERS AND ALLIED TRADES              November 2, 2012 (Local Rule 7(d)(1))
     INDUSTRY PENSION FUND; BOARD OF
17   TRUSTEES OF THE FINISHING TRADES
     INSTITUTE; BOARD OF TRUSTEES OF
18   THE PAINTERS AND ALLIED TRADES
     LABOR MANAGEMENT COOPERATION
19   INITIATIVE; WESTERN WASHINGTON
     SIGNATORY PAINTING EMPLOYERS
20   ASSOCIATION; and INTERNATIONAL
     UNION OF PAINTERS AND ALLIED
21   TRADES DISTRICT COUNCIL NO. 5,

22                            Plaintiffs,

23         v.

24   CHAMPION PAINTING SPECIALTY
     SERVICES CORP, a Florida corporation;
25   CARLOS HERNANDEZ, an individual;
     BERKSHIRE HATHAWAY SPECIALTY
     INSURANCE COMPANY, a Nebraska
      STIPULATION TO EXTEND TIME IN WHICH TO ANSWER        Williams, Kastner & Gibbs PLLC
                                                           601 Union Street, Suite 4100
      AND ORDER – Page 1                                   Seattle, Washington 98101-2380
                                                           (206) 628-6600
               Case 2:21-cv-00858-MJP Document 22 Filed 11/02/21 Page 2 of 3




 1   corporation; OLD REPUBLIC SURETY
     COMPANY, a Wisconsin corporation;
 2   LIBERTY MUTUAL INSURANCE
     COMPANY, a Massachusetts corporation;
 3   WASHINGTON STATE DEPARTMENT OF
     TRANSPORTATION, a political subdivision of
 4   the State of Washington; ROGNLIN'S, INC., a
     Washington corporation; DOES & ROES I-X,
 5
                                    Defendants.
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 7          Plaintiffs by and through their counsel, Christensen James & Martin, and Defendant
 8   Old Republic Surety Company submit this Stipulation to Extend the Time Within Which to
 9   Answer.
10          The parties are attempting to resolve certain matters in which may narrow or eliminate
11   issues to the pending litigation. Therefore, the parties agree that it would be appropriate to
12   extend the time within which Defendant Old Republic Surety Company have to answer the
13   Complaint through November 19, 2021.
14          This is the first request by the parties to extend the time for Defendant Old Republic
15   Surety Company to answer the Complaint.
16   Dated: November 2, 2021                                       Dated: November 2, 2021
17      CHRISTENSEN JAMES & MARTIN                     WILLIAMS KASTNER & GIBBS
18

19      By: _/s/ Wesley J. Smtih________               By: _/s/ Paul K. Friedrich________
        Wesley J. Smith, Esq.                          Paul K. Friedrich, Esq.
20      WSBA #51934                                    WSBA #43080
21      7440 W. Sahara Ave.                            601 Union Street, Suite 4100
        Las Vegas, NV 98117                            Seattle, WA 98101
22      P. (702) 255-1718                              P. (206) 628-6600
        wes@cjmlv.com                                  pfriedrich@williamskastner.com
23      Counsel for Plaintiffs                         Counsel for Defendant
                                                       Old Republic Surety Company
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      STIPULATION TO EXTEND TIME IN WHICH TO ANSWER                      Williams, Kastner & Gibbs PLLC
                                                                         601 Union Street, Suite 4100
      AND ORDER – Page 2                                                 Seattle, Washington 98101-2380
                                                                         (206) 628-6600
            Case 2:21-cv-00858-MJP Document 22 Filed 11/02/21 Page 3 of 3




 1                               IT IS SO ORDERED

 2
     Dated: November 2, 2021
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                                              A
                                              United States District Court Judge
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     STIPULATION TO EXTEND TIME IN WHICH TO ANSWER         Williams, Kastner & Gibbs PLLC
                                                           601 Union Street, Suite 4100
     AND ORDER – Page 3                                    Seattle, Washington 98101-2380
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